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   /s/ Michelle L. McGowan                              10/16/2024



    Michelle L. McGowan
                                                       Authorized Agent for Creditor


      Robertson, Anschutz, Schneid, & Crane, PLLC

     13010 Morris Rd., Suite 450

             Alpharetta, GA 30004



          470-321-7112                                  mimcgowan@raslg.com
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                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on __________________,
                                          October 17, 2024  I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to
the following:


Vincent Williams-Bey
7621 Elmwood Avenue
Philadelphia, PA 19153

Michele Williams-Bey
7621 Elmwood Avenue
Philadelphia, PA 19153

And via electronic mail to:

JEFFREY M. CARBINO
Leech Tishman Fuscaldo & Lampl
1007 N Orange Street
Suite 420
Wilmington, DE 19801

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107

                                                   By: /s/ Savanna Pacino




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